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AO 243 (Rev. 09/17)

MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
SENTENCE BY A PERSON IN FEDERAL CUSTODY

 

 

 

 

 

 

 

United States District Court [District Southern Disteict of Tews
Name fader which you were convicted): Docket or Case No.:

a . . Lf lt, ~ .

JACGUIN Sesus Macauon AG €€-0002.23
Place of Confinement: Prisoner No.:

Fer BastwP 18450 -V2F
UNITED STATES OF AMERICA Movant finchude name under which convicted)

Vv.
SORQUTM JESUS i seta Dok (»

   

 

 

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Southern District of Texas
MOTION FILED

(a) Name and location of court which entered the judgment of conviction you are challengin¥UL 20 2018
NET STATES DISTESCT Cou et
SouTHERY OTSTEICT OF TEKAS
Ps ST OFFICE Bg OK C10L0 David d. Bratlley, Clerk of Court

Houston TEXAS 7720¥ - .
(b) Criminal docket or case number (if you know): Y/lo- Cc 00273 [. H-/6 ~ 273- fo.

(a) Date of the judgment of conviction (if you know): __

(b) Date ofsentencing: ({—/¥-ZdIS

Length of sentence: _ LL lmawths | 7

Nature of crime (all counts): .
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A USC8F SHA ancl $4 1Lb\()(b)

(a) What was your plea? (Check one)
(1) Not guilty [| (2) Guilty (3) Nolo contendere (no contest) [|

(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,
what did you plead guilty to and what did you plead not guilty to?

i]t

If you went to trial, what kind of trial did you have? (Check one) J ury|_| Judge only [|

Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes [| NolX]

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8.

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10.

11.

Did you appeal from the judgment of conviction? Yes No [|

If you did appeal, answer the following:

(a) Name of court: Onitecl Shades Coot of NK poeals (ath dre)

(b) Docket or case number (if youknow): 4! /%-dC- 773-1

(c) Result: Ternandecl lock to Distert Cac to appeal on erapte-tocms cond On proper deci,
(d) Date of result (if you know): NIA _ -- -

(e) Citation to the case (if you know): N/A

(f) Grounds raised: Inel dine Assistance of Couse| Lor failure do; De PresS evi Clence,
Conver, a Coraral plec. ollec, jnvesteg de, I dvallenge suffiei of evidence ,

reasonable yess sone ‘! dient
Leche dolnee. oe: SR INVES AG co [ Caallenge polico , wel allow De a

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes [| No Ix]
If “Yes,” answer the following:
(1) Docket or case number (ifyou know):
(2)Resuit)

(3) Date of result Gf vou know): _

(4) Citation to the case (if you know):

(35) Grounds raised:

Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
concerning this judgment of conviction in any court?

Yes [| No

If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court: NIL

(2) Docket or case number (if you know):

(3) Date of filing (if you know):

 

 

 

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(4) Nature of the proceeding:

 

(5) Grounds raised:

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes [| No Xx’ |

(7) Result:
(8) Date of result (if you know):

 

 

(b) If you filed any second motion, petition, or application, give the same information:

(1) Name of court:

 

(2) Docket of case number (if you know):
(3) Date of filing (if you know):
(4) Nature of the proceeding:

 

(5) Grounds raised:

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes [| No [xX]

(7) Result:
(8) Date of result (if you know):

 

 

(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,

or application?

(1) First petition: Yes [| No
(2) Second petition: Yes [| No

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

 

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12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: Llkgally enbomeect a points foro. Geasya

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

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(b} Direct Appeal of Ground One:

 

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No Xl

(2) Ifyou did not raise this issue in your direct appeal, explain why:

 

a Thes SAT eSebinttel _fmencded Qs-par court odie _

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [| No [X]
(2) Ifyou answer to Question (c)(1) is “Yes,” state:
Type of motion or petition: Al A
Name and location of the court where the motion or petition was filed:

Nt A

Docket or case number (if you know): NI i

 

 

 

Date of the court’s decision: AA
* 7

 

Result (attach a copy of the court’s opinion or order, if available):

Ml

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No Ll

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(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No [x]

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No x]

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

NL

Docket or case number (if you know):

|
Date of the court’s decision: N]
T

 

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Result (attach a copy of the court’s opinion or order, if available):

_ _ NIA :

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

 

 

issue:

GROUND TWO: Drelle ve Assistance art Counsel. ,

(a) ‘Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Javier O. Martnez., Fedual FO No. 1/@ V7, TBA No. Eh tHt7 LIQ FL 530

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(b) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes [| No [ |

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(2) Ifyou did not raise this issue in your direct appeal, explain why:

(c) Post- Convi iction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [| No
(2) Ifyou answer to Question (c)({1) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

 

Date of the court’s decision:

Result (attach a copy of the court's opinion or order, if available):

 

(3) Did vou receive a hearing o on your motion, petition, or application?

Yes [| No [x]

(4) Did you appeal from the denial of your motion, petition, or application?

Yes No [|
(3) [If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [|
(6) If your answer to Question (c)(4) ts “Yes,” state: This iS a resubm tel, Kneweled cus pac Cort
Name and location of the court where the appeal was filed:
Suaistorcanonn ts mows)
Date of the court’s decision: NIA

Result (attach a copy of the court’s opinion or order, if available):

(7) If your answer to Question (c)(4) or Question (5) i is “No,” explain why you did not appeal or raise this

issue:

 

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GROUND THREE: _ N | by

t

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

(b) Direct Appeal of Ground Three:
(1) Ifyou appealed from the judgment of conviction. did you raise this issue?
Yes [| No YI

(2) Ifvou did not raise this issue in your direct appeal, explain why:

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes|_| No [K]

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: ce ee NLA

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know): NIE _
WM.

Date of the court’s decision: a

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No

(4) Did you appeal from the denial of your motion, petition, or application?
Yes [| No
(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No

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(6) Ifyour answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:

ee NA a

Docket | or case number (if you know): N/ A.
Date of the court’s decision: N

 

Result (attach a copy of the court’s opinion or order, if available):

a ALA a

(7) Ify your answer to Question (c)(4) or Question (c)(5) is “No,” explain w hy you did not - appeal or raise this
issue:

GROUND FOUR: __ NLR.

~ (a) Supporting facts (Do not ¢ argue or cite law. Just state the specific facts that support y your claim. ):

(b) Direct Appeal of Ground Four:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

MA

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [| No

(2) Ifyou answer to Question (c)(1) is “Yes,” state: N/ i

 

(c) Post-Conviction Proceedings:

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Type of motion or petition: AS | A

Name and location of the court where the motion or petition was filed:

N/A

 

 

 

Docket or case number (if you know): N re .
Date of the court’s decision: x ix

 

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No [

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes [| No [|

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know): | B
Date of the court’s decision: N] ft

Result (attach a copy of the court’s opinion or order, if available):

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

13. Is there any ground in this motion that you have not previously presented in some federal court? Ifso, which
ground or grounds have not been presented, and state your reasons for not presenting them:

NIP

 

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17,

Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the

you are challenging? Yes[ | No

If Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

Give the name and address, if known, of each attorney who represented you in the following stages of the
judgment you are challenging:
(a) At the preliminary hearing:

_ Devrer 0. Mackiner , T/L Mao St, Suite 240, Hvrlon Te 77002

(b) At the arraignment and plea:

_ Davie 0. Mackinez., 12 Maw Sh, Sude 2400, Mousdom, TK 77007
(c) At the trial:

Mie

(d) At sentencing:

Soyer 0. Maclmer, 7/2 Mam dk, Sude 2400 Hust Ty 72007.
(e) On appeal:

Pose
(f) In any post-conviction proceeding:

_YaSe. ee

(g) On appeal from any ruling against you in a post-conviction proceeding:

Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court

and at the same time? Yes [| No

Do you have any future sentence to serve after you complete the sentence for the judgment that you are

challenging? Yes [| No

(a) Ifso, give name and location of court that imposed the other sentence you will serve in the future:

Ah

(b} Give the date the other sentence was imposed: Af Ife

 

 

(c) Give the length of the other sentence: Af /f-

. ' . . .
(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
sentence to be served in the future? Yes [| No [|

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18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

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* The Antiterrorism and Effective Death Penalty Act of 1996 (-AEDPA”) as contained in 28 U.S.C. § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making sucha
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review; or

(4) the date on which the facts supporting the claim or claims presented could have been discovered
through the exercise of due diligence.

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Therefore. movant asks that the Court grant the following relief
Corree+ Sen tence Dy rewav ing He LZ Point en henaynente for & Cireaem ty red’ lecd-
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or any other relief to which movant may be entitled.

Signature of Attorney (ifany)

I declare (or certi

. verify, or state) under penalty of perjury that the foregoing is true ¢
under 28 U.S.C. § 2255 was placed in the prison mailing system on \

and correct and that this Motion
ND

(month. date. vear)

Executed (signed) on (date) \\) \\\ dh

Signature of Movant

Ifthe person signing is not movant, state relationship to movant and explain why movant is not signing this motion.

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United States District Court
Southern District of Texas

ENTERED
IN THE UNITED STATES DISTRICT COURT June 26, 2018
FOR THE SOUTHERN DISTRICT OF TEXAS David J. Bradley, Clerk
HOUSTON DIVISION
UNITED STATES OF AMERICA §
§
Vv. § CRIMINAL ACTION H-16-273-1
§
JOAQUIN JESUS MARANON §

ORDER

Pending before the Court are defendant’s duplicate pro se motions for a certificate
of appealability. (Docket Entries No. 273, 277.) Judgment was entered against defendant
on January 18, 2018, and no appeal was pursued. Defendant filed his first of the two
pending motions on April 23, 2018, and filed the second on May 31, 2018.

In filing the motions, defendant utilized a standardized form entitled, “Appellant’s
Combined Opening Brief and Application for Certificate of Appealability” for use in
federal courts of appeals. Defendant did not file a notice of appeal, and his untimely
motions cannot be construed as a notice of appeal. Nor is a certificate of appealability a
procedurally appropriate issue at this time. Defendant complains of ineffective assistance
of trial counsel, which is generally raised in a collateral review proceeding, not on direct
appeal.

Defendant seeks to challenge his sentence. The Court therefore construes his
motions as a motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255,

See Jeffers v. Chandler, 253 F.3d 827, 830 (Sth Cir. 2001) (“Section 2255 provides the
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primary means of collaterally attacking a federal conviction and sentence.”); Cox v.
Warden, Fed, Detention Center, 911 F.2d 1111, 1113 (Sth Cir. 1990) (same).

In Castro v. United States, 540 U.S. 375 (2003), the Supreme Court held that when
a district court recharacterizes a pro se litigant’s pleadings as a first motion to vacate, as
in this case, it “must notify’. . . the litigant that this recharacterization means that any
subsequent § 2255 motion will be subject to restrictions on ‘second or successive’ motions,
and provide the litigant an opportunity to withdraw the motion or to amend it so that it ,
contains all the § 2255 claims he has.” 7d. at 383.

Accordingly, the Court hereby notifies defendant that his pending duplicate motions
are construed as a section 2255 motion. It is ORDERED that, within thirty days from date
of this order, defendant must either withdraw his motions or amend the motions using the
enclosed standardized section 2255 form, so that it contains all claims he wishes to raise
with respect to his conviction and sentence in this criminal conviction.

The Clerk’s Office is directed to open a new civil action pursuant to section 2255
(nature of suit 510), mail to defendant a copy of this order and the standardized section
2255 motion form, and terminate the pending motions (Docket Entries No. 273, 277).

Signed at Houston, Texas on June 25, 2018.

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Signed at Houston, Texas on June 25, 2018.

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Goes . Miller
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Case 4:18-cv-02551 Document 1 Filed on 07/20/18 in TXSD Page 28 of 28

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